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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

JACQUELINE DEAN, on Behalf of Case No. 5:15-CV-00107-JGB(DTBx)

Herself and all Others Similarly Situated, | Declaration of Caitlin Layton

Plaintiff, pursuant to Local Rule

y. 9-5.2.2(b)(i)

COLGATE-PALMOLIVE Co,

 

Defendant.

 

1. My name is Caitlin Layton.

2. J am a Lead Paralegal for Walgreen Co.

3. I submit this declaration in connection with Plaintiff's Application for
Leave to File Documents Under Seal and pursuant to Local Rule 79-5.2.2(b)(i).

4, On April 13, 2016, I sent Plaintiff's counsel a declaration in response to
a third-party subpoena that was served on Walgreen Co. The declaration was
designated as confidential.

5. On April 25, 2016, I met and conferred telephonically with Courtney
Maccarone, counsel for plaintiff, pursuant to Local Rule 79-5.2.2(b) concerning the
confidential designation on the declaration. I agreed to allow plaintiff to publically
file the document, but redact only the number of purchasers of Optic White for
which Walgreen maintains identifying information. I requested that the numbers in
paragraph 14 and on Table I be redacted.

6. It is my understanding that on April 29, 2016, plaintiff filed an
application for leave to file certain documents under seal, including the sales
numbers in paragraph 14 of my declaration and on Table 1.

7. Upon further consideration, I have determined that the information need

not be filed under seal, and my declaration and Table | can be publically filed.

 

 

 

DECLARATION OF CAITLIN LAYTON I
CASE NO. 5:15-CV-00107-IGB(DTBx) ‘

 
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| I declare under penalty of perjury under the laws of the United States that the

2 foregoing is true and correct to the best of my knowledge.

Executed May 3, 2016, at Deerfield, Illinois.

Caitlin Layton

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DECLARATION OF CAITLIN LAYTON
CASE NO. 5:15-CV-00107-JGB(DTBx)

 

 

 
